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             EXHIBIT 1
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                                                                             Third Amendment:
                                                                                    Event Study




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                                                                                     February 25, 2021




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   Overview
   • On August 17, 2012, Treasury and the GSEs amended the SPSPA for
    the third time ("Third Amendment").
         -   The value of Fannie Mae and Freddie Mac's common and junior preferred stock
             decreased by $847 and $831 million respectively.
         -   The value of Fannie Mae and Freddie Mac's debt increased by $152 and $499
             million respectively.



   • Equity values of Fannie Mae and Freddie Mac increased significantly a
    week before the Third Amendment upon the Q2 2012 earnings
     release.


   • Price of the common stock recovered in September 2012 and that of
    the junior preferred stocks recovered during October 2012.


   •Agency bond spreads decreased during the second half of 2012.

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    Common and Junior Preferred Stock: Fannie Mae
$million                                                                                                8/8: Fannie earnings
 2,000
                                                                                                        release, Q2 2012
                                                                                                                                            11/8: Fannie
 1,800                                                                       8/7: Freddie earnings )                                        earnings release,
                        2/29: Fannie                                                                              10/26: FHFA updated       Q3 2012
                                                                             release, Q2 2012
                                                   5/9: Fannie                                                    projections of
                        earnings release,

                                                                                                \V
                                                   earnings release,                                              potential draws
 1,600                  FY 2011
                                                   Qi 2012                                           )

 1,400
                                                                                                                                   \Ai
                                                                                                             8/17: Third
 1,200                                                                                                       Amendment



 1,000                                                                                                      /
                                                                                                            LL                              10/9: FHFA releases
  800                                                                                                                                       strategic plan 2013-2017,
                                                                                                                                            "Preparing a Foundation
                                                                                                                                            for a More Efficient and
  600                                                                                                                                       Effective Housing
                                                                                                                                            Finance System"

  400




  200




    0
    1/3/2012     2/3/2012   3/3/2012    4/3/2012    5/3/2012      6/3/2012       7/3/2012      8/3/2012        9/3/2012    10/3/2012   11/3/2012   12/3/2012


                                              Fannie Common + Junior Preferred              Common      -Junior Preferred


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    Common and Junior Preferred Stock: Freddie Mac
$million                                                                                              8/8: Fannie earnings
                                                                                                      release, Q3 2012
  1,600




                                                                                                           f
                                                                                                                                               11/6: Freddie earnings
                                                                                 8/7: Freddie earning
                                                                                                                                               release, Q3 2012
  1,400                                                                          release, Q2 2oç


                                                                                                                    10/26: FHFA updated
  1,200                   3/9: Freddie earnings                                                                     projections of
                                                      5/3: Freddie earnings
                          release, FY 2011                                                                          potential draws
                                                      release, Qi 2012

  1,000



                                                                                                                  8/17: Third
                                                                                                                  Amendment



                                                                                                                 /
    800




    600
                                                                                                                                                  10/9: FHFA releases
                                                                                                                                                  strategic plan 2013-2017,
                                                                                                                                                  "Preparing a Foundation
    400                                                                                                                                           for a More Efficient and
                                                                                                                                                  Effective Housing
                                                                                                                                                  Finance System"

    200
                                                                                          L                           -               -




        0
     1/3/2012       2/3/2012   3/3/2012    4/3/2012      5/3/2012     6/3/2012        7/3/2012      8/3/2012       9/3/2012     10/3/2012    11/3/2012    12/3/2012


                                                  Freddie Common + Junior Preferred              Common        -Junior Preferred

                                                                                                                                                                 River
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   Change in equity and debt values around the Third
   Amendment

   •We consider four periods in calculating the impact of the Third
    Amendment on the value of Fannie and Freddie's common equity,
    junior preferred equity, and debt.


                    Prior to the Q2 2012 earnings until the Q3 2012 earnings



                                    Prior to Third Amendment until the Q3 2012 earnings
                                   I


                                       Prior to Third Amendment until FHFA update of projections
                                   I



                                    On the date of Third Amendment




         8/7, 8/8: Fannie and    8/17: Third Amendment                      10/26: FHFA updated                     11/6, 11/7: Fannie and
         Freddie release Q2                                                 projections of potential                Freddie release Q3
         2012 earnings                                                      draws                                   2012 earnings




                                                                                                                                             River
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   Common and Junior Preferred Stock: Change in value in
   four periods
                                                  Fannie Mae                             Freddie Mac
                                                  ($ million)                             ($ million)
              Date                                  Junior                                     Junior
                                   Common                         Total        Common                     Total
                                                  Preferred                               Preferred

                 8/16/2012             342              1,459        1,801         195            1,274      1,469

                                                                                                                            On the date of
                 8/17/2012             273 11             680         954          150              488       637
                                                                                                                            Third Amendment

                   Change              -68               -779         -847         -46             -786       -831
                                             II                                                                         I

                 8/16/2012             342              1,459        1,801         195            1,274      1,469          Prior to Third


             1/ /
                                                                                                                            Amendment until
                 10 25 2012            308 11           1,010        1,318         170              778       947
                                                                                                                            FHFA projections
                                                                                                                            update
                   Change              -33               -449         -483         -25             -496       -522
             I                It             II
                 8/16/2012             342              1,459        1,801         195            1,274      1,469          Prior to Third
                                                                                                                            Amendment until
                  11/5/2012            312 11           1,130        1,442         170              876      1,047]         Q3 2012 earnings
                                                                                                                            release
                   Change              -30               -329         -359         -25             -398       -422
             I                               II
                   8/6/2012            279              1,120        1,399         154              906      1,061          Prior to Q2 2012


             I
                                                                                                                            earnings release
                  11/5/2012            312 11           1,130        1,442         170              876      1,047          until Q3 2012
                              II
                                                                                                                            earnings release
                   Change               33                    9           42        16              -30           -14




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   Debt: Agency bonds index

   Credit Suisse Liquid US Agency Index (LUAI)
   The Credif Suisse Liquid US Agency Index (LUAI) is a composite of liquid, tradable issues from US agencies With
   large programmatic issuance programs. Programmatic issuance is defined by a minimum of consistent quarer1y
   issuance over one year. CurrenUy,the index includes Fannie Mae notes and bonds, Freddie Mac reference notes
   and the Federal Home Loan Bank Global Debt Program.


   Figure 11: CS Liquid US Agency Index (LUAI) Inclusion Rules

   Currency                    LJSD
   SecurIties                  Bullet structures; fixed, non-zero coupon bonds only.
                               Non-subordincted issues ony.
   Minimum Outstanding         $3 billion for rriaturiUes of 11 years orress $1 &IIlan for maturities longer than 11 years.
   Index Pricing               Ca1cuIaed each trading day using third-party vendor pricing.
       ebalancing              Index DaMP031tion is updated once amonth on the first bu5iness day of the month. All new issues must
                               settle pr
                                       ior to the first business day of the month to be included in the index,
   Maiirtty BfE1kdOWfl          i-3 35, 57, 710 r 1O+yOT5
   Index Inception              1/3/2000
   Index Launch Date           213/2003
   Coupon Reinvernent          LJSD 1M LlFlC)R rate
   Minimum Maturity            Bonds must have at least one year remaining to maturity.
   Trading & Settlement        Bonds are traded on aclean price basis and adhere to roDall sefflerrkent conventions.
   Transaction Cost            The index does not take transaction cost5 (bkl-offer spreads) ino acconnt.
   Website                     httpt/cu5.credit-5uisse.11/usi/home .asc
   Bloomberg Tioker            CSBG <GO>
   Sr: Cr,d S1i:




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   Debt: Agency bonds index
                                 Credit Suisse Liquid US Agency 3-5 Year Spread over Benchmark
    50    -




                                                                                 August 16, 2012



    40




    30




    20
                                 d
    10




   -10
    1/3/2010       7/3/2010     1/3/2011      7/3/2011    1/3/2012     7/3/2012       1/3/2013         7/3/2013       1/3/2014   7/3/2014




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   Debt: Median spread of GSE bonds
                                         Fannie and Freddie Bond Spreads of Benchmark Securities
                                                       Normalized to 0on 8/16/2012
   15   -




                                            August 16, 2012


   10




  -10




  -15
   7/2/2012                   8/2/2012                9/2/2012             10/2/2012                  11/2/2012            12/2/2012


                                                 Credit Suisse Liquid US Agency 3-5 Year Spread over Benchmark

                                                 Median Spread of 13 Fannie Mae Benchmark Bonds

                                                 Median Spread of 23 Freddie Mac Benchmark Bonds

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   Debt: Change in debt value from the date prior to the
   Third Amendment until the Q3 2012 earnings

                                                                                 Fannie              Freddie
                                                                                   Mae                  Mac
                                                                                                'F


                    [
                    Change in spread (bps)                                            -4.0


                     Median Maturity of benchmark bonds (years)                             3


                     Face Value of Debt ($ millions)                              659,389


                     Change in debt value ($ millions)                                    790            2,374




   Notes and sources:
   • Change in value of debt = Change in spread (%) X Median Maturity of benchmark bonds X Face Value of debt
         -   For example: Fannie Mae's change in debt value is equal to 0.04% X 3X $659,389 million= $790 million
   • Median maturity of Fannie and Freddie's benchmark bonds is 3years and 4 years; remaining maturity of benchmark
     bonds as of 8/16/2012, Bloomberg.
   • Face value of Fannie's debt is equal to $659 billion as of Q2 2012; Fannie Mae, Form 10-Q for the quarterly period
     ended June 30, 2012, p. 39.
   • Face value of Freddie's debt is equal to $582 billion as of Q2 2012; Freddie Mac, Form 10-Q for the quarterly period
       ended June 30, 2012, p. 107.


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   Debt: Change in debt value in four periods


                                                                 Fannie               Freddie
                                                                   Mae                   Mac
                                                         IF
   [
   Change in spread (bps)                                              -0.8
                                                                                            -
                                                                                            2.
                                                                                             11         On the date of Third Amendment


    Change in debt value ($ millions)                                   152                 499
   F                                                     IF                                        1

    Change in spread (bps)                                             -3.9                 -7.4       Prior to Third Amendment until
                                                                                                       FHFA projections update
    Change in debt value ($ millions)                     E      W764 4worl,7728


    Change in spread (bps)                                             -4.0"960r7lo-       -   1
                                                                                                        Prior to Third Amendment until
                                                                                                        Q3 2012 earnings

    Change in debt value ($ millions)                                   790                2,374



    Change in spread (bps)                                             -6.1                -11.7        Prior to Q2 2012 earnings until Q3
                                                                                                        2012 earnings
    Change in debt value ($ millions)                                 1,204                2,7441

   Notes:
   1.   Change in value of debt = Change in spread (%) X Median Maturity of benchmark bonds X Value of debt
   2.   Median maturity of Fannie and Freddie's benchmark bonds is 3years and 4years as of 8/16/2012 respectively; remaining
        maturity of benchmark bonds as of 8/16/2012, Bloomberg.
   3.   Value of Fannie and Freddie's debt is $659 billion and $582 billion as of Q2 2012 respectively.             1   1



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   Total change in GSEs' debt and equity

                                                            On the date          Prior to Third          Prior to Third          Prior to Q2
                                                               of Third           Amendment               Amendment           2012 earnings
                                                            Amendment               until FHFA           until Q3 2012        until Q3 2012
                                                                                   projections                earnings             earnings
                                                                                        update

        [Fann i
              e Mae

              Change in value of debt ($ millions)                     152                       764                   790             1,204


        I     Change in equity value ($ millions)                     -847                      -483                   -359               42

              Total change ($ millions)                               -695                       281                   431             1,246

        Freddie Mac
                                                                                                                                               I
              Change in value of debt ($ millions)                     499                      1,728                 2,374            2,744


        I     Change in equity value ($ millions)                     -831                       -522                  -422              -14

              Total change ($ millions)                               -332                      1,207                 1,952            2,730




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   Q2 2012 earnings: Change in equity and debt value
   • Fannie Mae and Freddie Mac released their Q2 2012 earnings on 8/7/2012
     and 8/8/2012 respectively.
   • The value of debt and equity for Fannie Mae and Freddie Mac increased by
     $522 million and $483 million respectively.

                                                                                      Fannie Mae               Freddie Mac
                                                                                       ($ millions)             ($ millions)


                   [Change in spread (bps)                                                      -0.6                    -0.5

                    Change in value of debt                                                     117                      108

                    Change in equity value                                                      406                     375]
                                                                             461



                           Change in common equity                                                                        45
                                                                                                 72                     32:]
                           Change in junior preferred equity                                    334

                   Total change in debt and equity value                                        522                     483




        Notes:
        1.   The change in debt and equity value is calculated between 8/6/2012 and 8/8/2012.




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   Dates with significant excess returns

                             Date                      Fannie Mae Equity         -            Freddie Mac Equity    -




                                                        Common + Junior                        Common + Junior
                                                            preferred                              Preferred
                           8/7/2012                              11 .1%*                               18 .0%*


                           8/8/2012                              15 .7%*                               14 .9%*

                           8/17/2012                             47 .1%*                               56 .8%*

                           8/20/2012                              7.0%*                                -4.8%


              i           10/10/2012                              7.6%*                                 4.9%
                                                                                                                        I
                          10/15/2012                              3.7%                                 12 .9%*


              I           10/16/2012                              5•3% *
                                                                                                        4.9%
                                                                                                                        I
                          10/17/2012                              6.3%*                                8.8%*


                          10/22/2012                              8.6%*                                8.3%*



        • Based on amarket model for a 1-year period from 8/7/2011 to 8/6/2012 (prior to the Q2

             2012 earnings)

        • Significance of excess returns is based on a5% level.

        • The table shows the dates with significant excess returns during 8/7/2012 to 12/31/2012.

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   News (1/2)
     Date        News




   1
                 Freddie Mac issues 2Q earnings release reporting net income of $3.0 billion, making it the first profitable quarter since 1Q201 1,
                 and the second quarter since 2008 that it has not required adraw from the Treasury.

    8/7/20 12    Fannie Mae releases results from its July 2012 National Housing Survey, showing that although "consumers' attitudes about their
                 household finances remain cautious in this month's survey.., consumer expectations regarding housing largely continue to be
                 upbeat." (Doug Duncan, Fannie Mae chief economist)

                 Fannie Mae issues 2Q earnings release reporting net income of $5.1 billion, making it the second straight quarterly profit after a
                 10-quarter loss streak. Fannie Mae president and CEO says that "[w]hile it is too early to declare anational housing recovering...
    8/8/2012     we expect our financial results in 2012 to be substantially better than the past few years."

                 Freddie Mac releases August 2012 U.S. Economic and Housing Market Outlook showing that the U.S. House Price Index saw a
                 quarterly gain of 4.8%, the largest quarterly pick up since 2004.


   18/
     17 /
        2012
                 U.S. Treasury announces 3rd amendment terms on 8/17 re Fannie and Freddie, nixing 10% dividend for net worth sweep and
                 requiring accelerated reduction of mortgage holdings. Following announcement, "the companies' corporate debt price rallied as the
    8/20/2012    new policy alleviated the need for Fannie Mae and Freddie Mac to borrow from the government just to make dividend payments"
                 and "preferred [and common] shares lost more than half their value in heavy trading as investors saw the plan as undercutting the
    8/21/2012    ability of either company to ever emerge from government conservatorship as profitable entities." (Reuters, August 17, 2012)

                 Federal Reserve announces plan to buy $40 billion of MBS a month in latest program to stimulate U.S. economy. Announcement
                 "topped expectations" of the market, with a Nomura analyst speculating "[t]he central bank likely will be buying half of the $140
                 billion of the mortgage-backed debt that Fannie Mae, Freddie Mac and Ginnie Mae sell each month." (Wall Street Journal,
                 September 13, 2012)

    9/13/2012    FHFA Inspector General publishes report saying Freddie Mac will recover up to $3.4 billion after scrutinizing soured loans
                 purchased from US banks.

                 Fannie Mae releases results from its August 2012 National Housing Survey, showing "[c]onsumer attitudes toward the housing
                 market remain modestly positive, despite signs of increased concern over the direction of the economy." (Doug Duncan, Fannie
                 Mae chief economist)




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   News (2/2)
     Date        News

                 Fannie Mae releases results from its September 2012 National Housing Survey. Fannie Mae chief economist states: "[cJonsumers
                 are showing increasing faith in the nascent housing recovery.., the Federal Reserve's latest round of quantitative easing has
                 caused alarge drop in mortgage rate expectations," also citing to the positive September jobs report published the Friday prior
                 (10/5) showing unemployment reaching a3-year low.
    10/9/2012
                 FHFA releases strategic plan for 2013-2017 subtitled "Preparing a Foundation for a More Efficient and Effective Housing Finance."
                 Fannie Mae and Freddie Mac are expected to continue to support housing finance, but also "contribute to an increase in the role of
                 private sources in capital in housing finance, ultimately diminishing direct and indirect government support." Plan includes returning
                 GSEs to "safe and sound" status.

    10/15/2012   Freddie Mac announces the dismissal of class-action lawsuit filed in August 2008 alleging securities fraud.

                 FINRA arbitration panel rules Merrill Lynch must pay $1.34 million to a couple alleging the broker misrepresented the risks of
                 Fannie Mae preferred shares in 2008.

                 FHFA Inspector General publishes report urging Fannie and Freddie to accelerate efforts to recover losses from soured loans and
    10/17/2012   for FHFA to develop foreclosure-sale guidelines. FHFA agrees with report's recommendations, saying it expects to provide new
                 guidance to the GSEs by September 2013.

                 Former CFO of Fannie Mae is dismissed from class-action lawsuit alleging Fannie's former executives and accountants of hiding
                 the company's deteriorating financial condition in 2004.

                 Securities arbitration law firm Klayman & Toskes announces 10/19 after trading hours that it is continuing to investigate the sale of
    10/22/2012   Fannie preferred stock by brokerage firms to their customers. PR Newswire reports that Fannie Mae stock is up 15% midday
                 10/22, and this news "may have something to do with [it]." (PR Newswire, October 22, 2012)

                 FHFA releases updated projections of potential Treasury draws for Fannie Mae and Freddie Mac. Projections show improved
    10/26/2012   outlook: Freddie Mac won't require any more support from the U.S. government, and Fannie will only need additional aid in
                 subsequent years if home prices fall sharply.




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